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EXCERPTS FROM THE SEC TESTIMONY OF
           SAMUEL TELLER
TAKEN AND RECORDED AUGUST 28, 2018
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                                                                                    Page 1
                     UNT'I'E:J S:•:CURIT IES AND EXCEANGE CO;1MI SSION


                     In the Matter ot:
                                                        File No. SF-04082-A
                     TESLA ~OTORS,     INC.             Amended: 9/10/2018
                                                                    :'.._Q/2/2018
                                                        CONFIDENTIAL
                     WITNESS:      Samuel Teller
                     PAGES:        1 through 314
                     PLAC'.'.'.:   Secur.ities and Exchange Corrrnission
                                   44 Montgomery Street
                                   Suite 2800
                                   San Francisco, California
                     DATE:         Tuesday, August 28, 2018


                              The above-entitJed matter came 8n for hearing,
                     pursuan~ to notice, at 9:21 a.rr.




                                   Diversified Reporting Se~vices,           Inc.
                                                (202)   46'/-9200

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                          m   behalf of t·7e Se:curi.'::,::_r.;s and Exchange Comm::_ssion:
                                WALKER NEWELL, ~SQ.
                                ~;.   BARRETT Ar.WOOD,          ESC,2.


                 '/             S~cu~itics and Excnanga Co~miss on
                                44 Yontgomary SLreet, Suile 2800
                 9              San Francisco,            ca~itor~ia 94184
               10               (1;15)   7C'.J-250U
               11               r·ev:ellw@sec.gov
               12               aLwcode@sec.qcv
                                sc~~e dere@sPc.gov


                                CH~:uvr, L. CRUMPTON, ESQ.
                                Sect:r it,: es and 3xcha.r:ge Commi ss io,1
                                100 F Street,            N.S.
               18               ~'ias:7ingtorc,    D.C.     7.0549

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               70               crurnptonc@sec.gov


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                             MILZS EH~LICH, ESQ.
                             C~l:l!\YA BIIF~LO'~'RA,   ESQ.
                             RaCTsey Ehr        c~, LL~
                             8C3 Hearst Aven~e
                             l~erkeloy, CaJJfornia 94710
                              (~)10)   5t;8   3680
                                1~s@ramsey-ehrlich.com
                             chhaya@ramsey-ehrlic~.con


                             BROCKTON B. BOSSON, ESQ.
                             Cahil2- Gordor: & ;.eindBl,      LLP
                             8 8 ? j ne St H} o L
               16            New York, New York "8005
                              (212) 701 3136
               18            bbosson@cahill.com
               1~
                       A.:.so :ere sent:
               L             Lu2~2n Newell, Video Operator



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                                                                                                    Page
                                                    P R O C E E D T N G S
                                      VIDEO OPERATOR:             Here begins DV'..J r.umbe r      one ir:

                       the testimony of Sam ';'eller in t:ie i:-1vcstiga-:::.ion by tbe
                       'J. S.   Seoc:..1::-·l tic,s and r•:xd,a,,ge Com:r.ission in    '--~10   matt~er    r
                       :'esi a ~-1otors,      .::nc ,    Fiie Sf-04082-1\.
                       8 -- A~gLsl ?8,           2018.        Tte t_~e on Lte video ~o~itor is
                       9: 21.     The video operator today is Lucien Newel,
                   8   employee by Be:1mkc Reporting und Video Services,                          l!!c.,
                       and s~bcontrac ed by Div0rsJfied Reoo~t                         Serv
                                      This      Lr:vestiga~ion ls taking place at 14
                       Mantgo~ery Street,               Suite 2800,    San Frdncisco.
               12      reporter Lociay is Mary Bardell ini,                   Cert"fied Stort~and
               13      Reporter, ccnLracted by Aehrrke Rcpor~_rtg and Video
               1
                   4   Services,      Inc.,      and subcontracred by Diversified
                       Reporting Serv:.c8s,             Inc.
               16
               1 ·1    the recoc::d.
                                      VR. NEW~LL:            Walker Ncwe:l, Securi~ies and
               19      Excha:;ye Commissior..
               2C                     ¼i~h rre are Barrett Atwood and Frin Schne der,
               ?       also wlth ~r:e Sec1.:ri::.ies and Exchange CcmnLssio:1.
                                      I•:R.   EIIRLIC.i-I:     Mi es Er;r· "ch from Ramsey and
               23      ~h-lich 0n beha"f of ~hew L~ess,                      Sam ~Eller.        With me    Ls
               24      Chhaya Rha_o~ra,           also ~roM       Ra □ sey   and E~rlicl:.
                                      MR. 30SSON:            I'm Brockton Bosson fro~ Cnh :1




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                             Q        Mr.   Teller, please statE= your full nam.e, and

                     spE=11 your name for the record.


                             Q        And spell your name for the record.


                     r F L
                             Q        Again, my name is Walker Newe11, and with me
                     are Barrett Atwood and Erin Schneider.                    We're officers of
                     thE= Securities and Exchange Commission for purposes of
                l    this proceeding.           This is an investigation by the United
                     States Securities and Exchange Commission in the matter
                     of Tesla Motors, Inc., to determine whether there have
                     been violations of certain provisions of the federal
                     securities laws.           Hc;;wever the fcLct.s developE~d in this




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                   TESTIMONY FILED
                     UNDER SEAL
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